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                     EXHIBIT C
        (to Elisabeth C. Frost’s Declaration)
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                              November 15, 2019


S.P.S., ex rel. Natalie Short, et al. v. Brad Raffensperger, et al., No. 1:19-CV-
                                         4960

     United States District Court for the Northern District of Georgia

                 Expert Report of Bernard L. Fraga, Ph.D.




                       __________________________
                          Bernard L. Fraga, Ph.D.




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    I.      Background and Qualifications

         My name is Bernard L. Fraga. I am a political scientist, data analyst, and

researcher. I am also an associate professor of political science at Indiana University

Bloomington, where I began working in 2013. In my role as an associate professor

of political science, I research and teach on the topics of American elections and

political representation. I earned my Bachelor of Arts degree in Political Science and
Linguistics from Stanford University in 2008. I then earned my Master of Arts

degree in Political Science from Harvard University in 2011, and my Ph.D. in

Government and Social Policy also from Harvard University in 2013. My
undergraduate and graduate training included courses in political science, statistics,

and election law.

         My academic research focuses on American politics, specifically American

elections and representation. I have published peer-reviewed works on these topics

in the American Journal of Political Science, the Journal of Politics, the Journal of

Race, Ethnicity, and Politics, and the Quarterly Journal of Political Science,

including articles that focus on the measurement of electoral competition in the

United States.1 I have also published work in the Stanford Law Review and have

published a book on elections and voter turnout with Cambridge University Press.



1
 This includes Fraga, Bernard L. and Eitan D. Hersh (2018). “Are Americans
Stuck in Uncompetitive Enclaves? An Appraisal of U.S. Electoral Competition.”
Quarterly Journal of Political Science 13 (3): 291-311 and Fraga, Bernard L. and
Eitan D. Hersh (2011) “Voting Costs and Voter Turnout in Competitive Elections.”
Quarterly Journal of Political Science 5(4): 339-356
                                          2
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         I have also served as a peer reviewer for numerous academic journals and

press outlets in political science, advised multiple Ph.D. dissertations, and have been

invited to give many academic lectures regarding my work on elections and

representation.
         I previously served as an expert regarding election data in Perez v. Texas

(2017) and Common Cause Indiana et al. v. Marion County Election Board et al.

(2018). I also served as an expert regarding quantitative analyses of administrative

data in State of California, et al. v. Wilbur Ross, et al. and City of San José, et al. v.

Wilbur Ross, et al. (2019).

         I have attached to this declaration a true and correct copy of my curriculum
vitae, listing my academic background and publications. I am being compensated at

a rate of $350.00 per hour. My compensation is not contingent upon my conclusions

in this report.

   II.      Scope of Work

         Plaintiffs in this action retained me to evaluate whether general elections have

become more competitive in the State of Georgia in recent years. My evaluations, as

found in this report, are based on my existing knowledge, expertise, and experience,

along with the statistical analysis of relevant election data. I relied on the following

data sources: (i) general election results posted on the website of the Georgia

Secretary of State for elections from 1988 to 2018; and (ii) general election results

listed in the Georgia Official and Statistical Register for elections from 1970 to 1986.




                                             3
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    III.    Summary of Findings

       Based on my analysis of recent and historical election data, I conclude that

general elections have become more competitive in Georgia in recent years, relative

to previous years:

       1.      Statewide elections in Georgia were significantly more competitive

during the period from 2010 to 2018 than in the period from 1970 to 2008.

       2.      There were more statewide elections that were competitive in 2018 in

Georgia than in any other election year since 1970, with 8 out of 10 statewide

elections having a margin of victory of less than 5 percentage points and 10 out of

10 having a margin of victory of less than 10 percentage points.

       3.      The frequency of competitive U.S. House, Georgia State Senate, and

Georgia House of Representatives elections in 2018 was greater than in any other

year under the current districting plan.

    IV.     Evaluating Competition in Statewide Elections in Georgia

       In order to evaluate competition in statewide elections in Georgia, I first

compiled information on election results from the Georgia Secretary of State’s

website, which provides information for elections held from 1988 to 2018, including

the total number of votes cast for each candidate.2

       For data on elections prior to 1988, I relied on election results tables printed

in the Georgia Official and Statistical Register or attached as supplements to the


2
 “Current and Past Election Results,” Georgia Secretary of State’s Elections
Division. URL:
https://sos.ga.gov/index.php/Elections/current_and_past_elections_results
                                           4
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Georgia Official and Statistical Register, which are hosted by the Digital Library of

Georgia.3 As of 1993, the final year of publication of the Georgia Official and

Statistical Register, the Register was prepared by the Georgia Department of

Archives and History, a division of the Georgia Secretary of State’s office.4

      The scope of my analysis covered general elections, excluding primary

elections, judicial elections, and runoff elections.5

      Statewide elections included in my analysis include those for Governor,
Lieutenant Governor, Secretary of State, Attorney General, Commissioner of

Agriculture,   Commissioner       of   Insurance,6      State   School   Superintendent,

Commissioner of Labor, and members of the Public Service Commission. Each of

these offices is elected by a statewide vote in Georgia.7


3
  “The Georgia Official and Statistical Register,” Digital Library of Georgia. URL:
http://statregister.galileo.usg.edu/statregister/
4
  Holmes, Marian B. (1993) “Georgia Official and Statistical Register, 1989-90.”
Department of Archives & History, Office of Secretary of State.
5
  Primary elections are excluded, as these elections are intra-party and therefore do
not provide information about competition between parties that is revealed through
the analysis of general elections. Judicial elections are nonpartisan contests, again
not providing information about competition between parties. General runoff
elections are held when no candidate receives a majority of the votes cast for the
office in the general election and are therefore excluded from my analysis because
the need for a runoff is a function of both the level of competition between the top
two candidates and the presence or absence of additional candidates on the general
election ballot. Furthermore, such elections are the result of a competitive general
election that would, by the measure of competitiveness I use, already be recorded
as a competitive contest in my analysis.
6
  Prior to 1986, this office was known as the Comptroller General of Georgia.
7
  Georgia Public Service Commissioners are elected by a statewide vote, despite
the fact that at present each Commissioner is elected to represent one of five
districts within the state.
                                           5
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      The measure of competitiveness I use is informed by political science research

on elections, specifically, analyses of general election competition. The main

continuous measure of competitiveness found in the literature is the margin of

victory, “which is calculated as the number of votes separating the first and second
place candidates for an office divided by the total number of votes cast for the same

office.”8 The margin of victory may be described in percentage points. For example,

an election where the winning candidate received 55 percent of the votes cast and
the runner-up received 45 percent of the votes cast would indicate a margin of

victory of 10 percentage points.9 Common categorical measures of competition use

the same information and calculation as the continuous margin of victory measure,

but define competitive as an election where the margin of victory was less than or

equal to 10 percentage points or less than or equal to 5 percentage points.10




8
  Fraga, Bernard L. and Eitan D. Hersh (2018). “Are Americans Stuck in
Uncompetitive Enclaves? An Appraisal of U.S. Electoral Competition.” Quarterly
Journal of Political Science 13 (3), p. 298. Fraga and Hersh (2018) also state
“Such a measure of electoral closeness is standard in the literature,” citing Fraga,
Bernard L. and Eitan D. Hersh (2011) “Voting Costs and Voter Turnout in
Competitive Elections.” Quarterly Journal of Political Science 5(4): 339-356, and
Geys, Benny (2006) “Explaining voter turnout: A review of aggregate-level
research.” Electoral Studies 25 (4) 637-663.
9
  Uncontested elections have 0 competition and are therefore defined as having a
margin of victory of 1, equivalent to 100 percentage points. Write-in candidates are
included in vote totals when this information was tabulated in the sources I relied
upon. The inclusion or exclusion of write-in candidates does not impact the
conclusions I reach in this report.
10
   Ibid, p. 8.
                                          6
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      I present the average margin of victory in statewide general elections in

Georgia for 5 election cycle periods (roughly corresponding to decades) from 1970

to 2018 in Table 1.


             Table 1: Average Margin of Victory in Georgia Statewide Elections,
             1970-2018

                                              Average
                            Election          Margin of
                             Years             Victory
                           1970-1978            77.9
                           1980-1988             59.8
                           1990-1998             23.9
                           2000-2008             13.8
                           2010-2018             11.7
  Note: Includes statewide general elections from 1970-2018. Average Margin of
 Victory column indicates the difference in percentage points of the total vote won
    by the winning candidate, as compared to the runner-up, averaged across all
elections in the indicated period. Excludes primary elections, judicial elections, and
                                       runoffs.

      As Table 1 demonstrates, the average margin of victory in statewide general

elections during the period from 2010 to 2018 was 11.7 percentage points, equivalent

to a 55.8 percent to 44.15 percent result for the winning candidate and losing

candidate, respectively, in a two-candidate matchup. This 11.7 percentage point

average margin of victory was smaller than in any of the other 5 election cycle

periods shown in Table 1, indicating that statewide general elections have become

more competitive over time in the State of Georgia.


                                          7
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      A two-tailed t-test reveals a statistically significant difference between the

margin of victory in statewide general elections held from 2010 to 2018 and the

margin of victory in statewide general elections held between 1970 and 2008, with

the margin of victory being significantly smaller (p < 0.0000015) for elections in the
most recent period than in the past.

      Using the 5 percentage point and 10 percentage point cutoff for what

constitutes a competitive election, Georgia statewide elections held in 2018 featured

more competitive elections than any other year since at least 1970. Of the 10

statewide general election contests held in 2018, all had a margin of victory for the

winning candidate of less than 10 percentage points. Furthermore, 8 out of 10 such
elections had a margin of victory of less than 5 percentage points. Table 2 presents

the office and margin of victory for each election.




                                          8
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              Table 2: Margin of Victory in Georgia Statewide Elections, 2018
                                           Margin       Margin of        Margin of
                                             of         Victory <        Victory <
  Statewide Office                         Victory       10pp?             5pp?
  Governor                                   1.4           Yes              Yes
  Lieutenant Governor                           3.3        Yes               Yes
  Secretary of State                            0.4        Yes               Yes
  Attorney General                              2.6        Yes               Yes
  Commissioner of Agriculture                   6.2        Yes                No
  Commissioner of Insurance                     3.4        Yes               Yes
  State School Superintendent                   6.0        Yes                No
  Commissioner of Labor                         4.9        Yes               Yes
  Public Service Commission, Dist. 3            2.1        Yes               Yes
  Public Service Commission, Dist. 5            3.0        Yes               Yes
  Note: Includes statewide general elections in 2018. Margin of Victory column
  indicates difference in percentage points of the total vote won by the winning
  candidate, as compared to the runner-up. Excludes primary elections, judicial
                              elections, and runoffs.

   V.      Evaluating Competition in District-Level Elections in Georgia

        Statewide elections allow for a consistent, over time measure of the extent of

competition in Georgia elections. In each election year, however, there are hundreds

of additional elections in Georgia, including elections to U.S. House of

Representatives from the State of Georgia, Georgia State Senate, and the Georgia

House of Representatives. These elections are held at the level of districts, where

only eligible voters registered to vote in those districts participate in the election.



                                            9
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      In order to evaluate competition in district-level elections in Georgia, I used

information on election results from the Georgia Secretary of State’s website, the

same source used for the statewide elections analysis.11

      The analysis of district-based elections requires attention to the timing of
redistricting. In Georgia, district boundaries in place in 2018 for the U.S. House of

Representatives and Georgia House of Representatives were first used in the 2012

election, with the exception of 17 districts which were most recently redrawn in

2015.12 Thus, evaluating changes in general election competitiveness under the same

district boundaries as 2018 for these offices indicates that elections in 2012, 2014,

2016, and 2018 may be compared when removing the 17 districts whose boundaries
changed for the 2016 election. District boundaries in place in 2018 for the Georgia

State Senate were first used in the 2014 election.13 Evaluating changes in general

election competitiveness under the same district boundaries as 2018 for the Georgia
State Senate indicates elections in 2014, 2016, and 2018 may be compared.

      Table 3 presents the number of U.S. House from the State of Georgia, Georgia

State Senate, and Georgia House of Representatives elections where the margin of
victory was less than 10 percentage points and less than 5 percentage points in years

from 2012 to 2018.



11
   “Current and Past Election Results,” Georgia Secretary of State’s Elections
Division. URL:
https://sos.ga.gov/index.php/Elections/current_and_past_elections_results
12
   See Georgia H.B. 20EX (2011), H.B. 1EX (2011), H.B. 829 (2012), H.B. 566
(2015).
13
   See Georgia S.B. 430 (2012).
                                         10
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             Table 3: Competitive Elections to the U.S. House from the State of
             Georgia, Georgia State Senate, and Georgia House of Representatives,
             2012-2018

                                  Elections with          Elections with
               District-Level    Margin of Victory      Margin of Victory <
      Year        Offices            < 10pp                    5pp
      2012      U.S. House               1                       0
              Georgia Senate              1                       0
              Georgia House               5                       3
      2014      U.S. House                1                       0
              Georgia Senate              0                       0
              Georgia House               4                       1
      2016      U.S. House                0                       0
              Georgia Senate              1                       1
              Georgia House               6                       3
      2018      U.S. House                2                       2
              Georgia Senate              5                       2
              Georgia House               22                      15
 Note: Elections with Margin of Victory < 10 pp and < 5pp columns indicate the
number of elections where the difference in percentage points of the total vote won
   by the winning candidate, as compared to the runner-up, was less than 10
         percentage points or less than 5 percentage points, respectively.

      In 2018, two elections to the U.S. House of Representatives from Georgia
were decided by less than 5 percentage points. As Table 3 indicates, this exceeds the

number of elections that were decided by either a 10-percentage point margin or a

5-percentage point margin for the period from 2012 to 2016.



                                         11
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      Furthermore, Table 3 indicates that 5 elections to the Georgia State Senate

were competitive in 2018 when using the 10 percentage point threshold, and 2

elections to the Georgia State Senate were competitive in 2018 when using the 5-

percentage point threshold. This exceeds the number of elections that were decided
by either margin in any other year from 2014 to 2016, when the current districting

plan was in place. 2012 elections to the Georgia State Senate also featured only a

single competitive election (10 percentage point threshold), versus 5 competitive

elections using the same threshold in 2018.

      Finally, the number of competitive elections to the Georgia State House of

Representatives in 2018 was at least three-times the number of competitive elections
in any other year from 2012 to 2016. Whether using the 10-percentage point or 5-

percentage point threshold for competitive elections, 2018 elections to the Georgia

House of Representatives were dramatically more competitive than in any previous
year under the current districting plan.

      Overall, in evaluating district-level elections in the State of Georgia from

2012 to 2018, we see substantial evidence of an increase in competition in 2018
relative to other years examined in Table 3. In fact, the aggregate number of U.S.

House from the State of Georgia, Georgia State Senate, and Georgia House of

Representative elections that were competitive in 2018 exceeds the number of

competitive elections for the aforementioned offices in the years from 2012 to 2016

combined.




                                           12
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VI.   Conclusion

      I conducted an analysis of relevant data on Georgia elections in order to

evaluate whether general elections in Georgia have become more competitive in

recent years. I found evidence supporting the finding that elections have become

more competitive, whether examining statewide elections from the period from 1970

to 2018 or district-level elections during the current districting cycle. The number of

statewide elections that were competitive in 2018 exceeded the number of statewide

elections that were competitive in any other year since at least 1970, and the number

of competitive district-level elections in 2018 exceeds the number of competitive

district-level elections held from 2012 to 2016. Therefore, I conclude that general

elections in the State of Georgia have become more competitive in recent years.




                                          13
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Academic           Indiana University, Bloomington, IN
Aﬃliations            Associate Professor, Department of Political Science (2019 - )
                      Assistant Professor, Department of Political Science (2013-2019)
                      Faculty Aﬃliate, Center for Research on Race and Ethnicity in Society (2013 - )
                      Faculty Aﬃliate, Latino Studies Program (2013 - )

Education          Harvard University, Cambridge, MA
                     Ph.D., Government and Social Policy (2013)
                     A.M., Political Science (2011)

                   Stanford University, Stanford, CA
                      B.A., Political Science and Linguistics (2008)
                      Degree Conferred with Distinction and Departmental Honors

Book               Fraga, Bernard L. (2018) The Turnout Gap: Race, Ethnicity, and Political Inequality in
                     a Diversifying America. New York: Cambridge University Press.
                     Award: APSA Section on Race, Ethnicity, and Politics Best Book Award
                     Review: Journal of Race, Ethnicity, and Politics, Author Meets Critics: MPSA 2019

Journal            Fraga, Bernard L. and John Holbein. (2020) “Measuring Youth and College Student
Publications         Voter Turnout.” Electoral Studies. Forthcoming.

                   Fraga, Bernard L., Eric Gonzalez Juenke, and Paru Shah. (2020) “One Run Leads to
                     Another: Minority Incumbents and the Emergence of Lower Ticket Minority Candi-
                     dates.” Journal of Politics. Forthcoming.

                   Fraga, Bernard L. and Eitan D. Hersh. (2018) “Are Americans Stuck in Uncompetitive
                     Enclaves? An Appraisal of U.S. Electoral Competition.” Quarterly Journal of Political
                     Science 13 (3): 291-311.

                   Fraga, Bernard L. (2016) “Candidates or Districts? Reevaluating the Role of Race in
                     Voter Turnout.” American Journal of Political Science. 60 (1): 97-122.

                   Fraga, Bernard L. (2016) “Redistricting and the Causal Impact of Race on Voter
                     Turnout.” Journal of Politics 78 (1): 19-34.
                     Award: MPSA Lucius Barker Award (2015)

                   Ansolabehere, Stephen and Bernard L. Fraga. (2016) “Do Americans Prefer Co-Ethnic
                    Representation? The Impact of Race on House Incumbent Evaluations.” Stanford
                    Law Review 68 (6): 1553-1594.

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                  Fraga, Bernard L. and Julie Lee Merseth. (2016) “Examining the Causal Impact of the
                    Voting Rights Act Language Minority Provisions.” Journal of Race, Ethnicity, and
                    Politics 1 (1): 31-59.

                  Fraga, Bernard L. and Eitan D. Hersh. (2011) “Voting Costs and Voter Turnout in
                    Competitive Elections.” Quarterly Journal of Political Science 5 (4): 339-356.
Teaching          Indiana University
                     Voting, Elections, and Public Opinion (Undergraduate)
                     Racial and Ethnic Politics in the U.S. (Undergraduate)
                     Election Law and Voting Rights (Undergraduate)
                     Analyzing Politics (Undergraduate)
                     Electoral Politics and Political Participation (Graduate)
                     The Politics of Race, Ethnicity, Gender, and Identity (Graduate)
                     American Politics Workshop (Graduate)
                  Harvard University
                     Teaching Fellow/Tutor, Sophomore Tutorial on Democracy (Undergraduate)
                     Teaching Fellow, American Government (Undergraduate)

Grants, Awards,   Best Book on Race, Ethnicity, and Political Behavior Award (2019)
& Fellowships     American Political Science Association Section on Race, Ethnicity, and Politics

                  Identity, Community, and Participation Research Grant (2019)
                  Social Science Research Council Anxieties of Democracy Program

                  Midwest Political Science Association Latino Caucus Early Career Award (2018)

                  Visiting Scholar (non-residential) (2017-2020)
                  Institute for Democracy & Higher Education, Tufts University

                  Indiana University Summer Instructional Development Fellowship (2017)

                  New Initiatives Grant (2017)
                  Massachusetts Institute of Technology Election Data and Science Lab

                  Indiana University Latino Faculty and Staﬀ Council Emerging Scholar Award (2017)

                  Indiana University Trustees Teaching Award (2015)

                  Midwest Political Science Association Lucius Barker Award (2015)

                  Best Dissertation Award Honorable Mention (2014)
                  American Political Science Association Section on Race, Ethnicity, and Politics

                  Harvard Graduate Prize Dissertation Completion Fellowship (2012-2013)

                  Harvard University Center for American Politics Travel Grant (2012)



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               Harvard University Certiﬁcate of Distinction in Teaching (2011, 2012)

               SSRC Graduate Studies Enhancement Grant (2010, 2011, 2012)

               NSF-IGERT Doctoral Fellow (2009-2011)
               Multidisciplinary Program in Inequality & Social Policy, Harvard University

               American Political Science Association Minority Fellow (2008-2010)

               Mellon Mays Undergraduate Fellowship (2006-2008)

Invited        University of Pittsburgh, Seminar in Representation and Identity Politics. February 22,
Talks          2019. “Separating Race and Party in Congressional Elections”

               Fordham University, American Forum Speaker Series, February 6, 2019. “The Turnout
               Gap: How Racial/Ethnic Disparities in Voter Turnout Skew Election Outcomes”

               Tufts University, Tisch College of Civic Life Civic Life Lunch, February 4, 2019. “The
               Turnout Gap: Race and Voter Turnout”

               Princeton University, Conference on Identity and Inequality, October 19, 2018. “The
               Turnout Gap: Causes and Consequences of Racial/Ethnic Disparities in Voter Turnout”

               University of California San Diego, Spring Conference on American Politics, Center for
               American Politics, May 24, 2018. “Who Does Voter ID Keep from Voting?”

               Northwestern University, Race, Ethnicity, and Politics Workshop, February 23, 2018.
               “The Turnout Gap: Causes and Consequences of Racial/Ethnic Disparities in Voter
               Turnout.”

               The Ohio State University, Symposium Rapporteur for The New American Electorate
               Beyond the Voting Booth: Building an Inclusive Democracy, December 1, 2017.

               Columbia University, American Politics Workshop, April 25, 2017. “The Turnout Gap:
               Exploring the Causes and Consequences of Racial/Ethnic Diﬀerences in Voter Turnout.”

               Vanderbilt University, Research on Individuals, Politics, and Society Speaker Series,
               February 27, 2017. “The Turnout Gap: Exploring the Causes and Consequences of
               Racial/Ethnic Diﬀerences in Voter Turnout.”

               Rice University, Speaker Series, January 27, 2017. “The Turnout Gap: Examining the
               Causes and Consequences of Racial/Ethnic Diﬀerences in Voter Turnout.”

               ICPSR Summer Institute, Blalock Lecture, August 4, 2016. “Using Big Data to Mea-
               sure, Map, and Explain Racial Diﬀerences in Voter Turnout.”

               University of Chicago, American Politics Workshop, Nov 9, 2015. “Changing Districts,
               Changing Turnout: Redistricting and Minority Political Participation.”


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                 Harvard Kennedy School, Ash Center for Democratic Governance and Innovation Work-
                 shop Participant and Panelist, March 26, 2015. “How Data is Helping Us Understand
                 Voting Rights After Shelby County v. Holder.”

Conference       American Political Science Association Annual Meeting
Participation       Paper/Book Presentation: 2010, 2011, 2014 (2), 2017 (2), 2018
                    Roundtable/Workshop Panelist: 2018
                    Panel Chair/Discussant: 2015, 2017
                 Midwest Political Science Association Annual Meeting
                    Paper/Book Presentation: 2010, 2012, 2014, 2015, 2016 (2), 2017, 2018, 2019
                    Roundtable/Workshop Panelist: 2019
                    Workshop Organizer: 2019
                    Panel Chair/Discussant: 2014, 2015, 2017, 2019 (2)
                 Western Political Science Association Annual Meeting
                    Paper Presentation: 2015
                    Workshop Organizer: 2019
                    Panel Chair/Discussant: 2015, 2018
                 Election Sciences, Reform, and Administration Summer Conference
                    Program Co-Chair: 2017
                    Paper Presentation: 2017
                    Panel Chair/Discussant: 2017, 2018
                 Politics of Race, Immigration, and Ethnicity Consortium (PRIEC)
                    Presentation: 2013, 2018
                    Discussant: 2017
                 Symposium on the Politics of Immigration, Race, and Ethnicity (SPIRE)
                    Co-Organizer: 2017, 2018
                    Institution Host: 2014
                    Paper Presentation: 2012

Campus           Indiana University
Presentations       American Politics Workshop: 2015, 2017, 2018
                    Workshop on Race, Ethnicity, and Migration: 2016
                    Neal-Marshall Black Culture Center: 2014
                    Social Science Research Commons, Workshop in Methods: 2013
                 Harvard University
                    American Politics Research Workshop: 2011 (2), 2012
                    Political Psychology and Behavior Workshop: 2010, 2011




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Advising &        Ph.D. Dissertation Committee Member, Indiana University
Service              Colin Fisk (Chair)
                     Rita Nassar (Co-Chair)
                     Eric Schmidt
                     Vivian Ferrillo
                     Xuan Li (Central Eurasian Studies)
                     Katelyn Stauﬀer (defended July 2018)
                     Laura Bucci (defended July 2017)
                     Matthew Fowler (defended July 2017)
                     Ian Anson (defended June 2015)
                  Master’s Thesis Examiner in Political Science, Yannick Vogel, Freie Universität Berlin
                  (2017-2018)

                  Faculty Mentor, Advanced Empirical Research on Politics for Undergraduates Program
                  (Sierra Wiese), Society for Political Methodology (2019)

                  Faculty Mentor, Center for Research on Race and Ethnicity in Society Postdoctoral
                  Scholar (Vanessa Cruz Nichols), Indiana University (2017-2019)

                  Faculty Mentor, Center for Research on Race and Ethnicity in Society Undergraduate
                  Research Program, Indiana University (2017-2018)

                  Honors Thesis Mentor, Department of Political Science, Indiana University (2014-2016,
                  2018-2020)

                  Faculty Mentor, Cox Research Scholars Program, Indiana University (2013-2020)

                  Co-coordinator, Department of Political Science Political Analytics Program, Indiana
                  University (2018-2020)

                  Faculty Sponsor, Pi Sigma Alpha Society, Indiana University (2019-2020)

                  Coordinator, Department of Political Science American Politics Subﬁeld, Indiana Uni-
                  versity (2018-2019)

                  Board Member, All In Campus Democracy Project and Big 10 Voting Challenge, Indi-
                  ana University (2016, 2018)

                  Member, Diversity and Aﬃrmative Action Committee, Bloomington Faculty Council,
                  Indiana University (2016-2017)

                  Member, Center for Research on Race and Ethnicity in Society Postdoctoral Fellowship
                  Selection Committee, Indiana University (2014)

                  Department of Political Science Committee Member, Indiana University
                     Development Committee (2018-2019)
                     Personnel Committee (2017-2018)
                     Graduate Program and Admissions Committee (2013-2017)
                     Undergraduate Program Committee (2015-2016)
                     Graduate Awards Committee (2014-2015)
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Professional      Editorial Board Member: American Journal of Political Science (2019 -), Political Be-
Activities &      havior (2019 -)
Aﬃliations
                  Reviewer: American Political Science Review ; American Journal of Political Science;
                  Journal of Politics; Journal of Race, Ethnicity, and Politics; Cambridge University
                  Press; Oxford University Press; W.W. Norton & Co.; British Journal of Political Sci-
                  ence; Political Analysis; Political Research Quarterly; Political Psychology; Public Opin-
                  ion Quarterly; Legislative Studies Quarterly; Political Behavior ; Electoral Studies; Amer-
                  ican Politics Research; Politics, Groups, and Identities; PS: Political Science

                  Member, Western Political Science Association Committee on the Status of Latinos/as
                  in the Profession (2017-2019, Chair 2018-2019)

                  Member, Executive Committee, Section on Race, Ethnicity, and Politics, American Po-
                  litical Science Association (2019-2021)

                  Member, Nominations Committee, Section on Race, Ethnicity, and Politics, American
                  Political Science Association (2017-2019)

                  Research Aﬃliate, Democracy Fund Voter Study Group (2018 -)

                  Chair, Lucius Barker Award Selection Committee, Midwest Political Science Association
                  (2017-2018)

                  Member: American Political Science Association; Midwest Political Science Association;
                  Western Political Science Association

Consulting        Expert, State of California, et al. v. Wilbur Ross, et al. & City of San José, et al.
                  v. Wilbur Ross, et al., Eﬀects of undercount on Census due to addition of a citizenship
                  question. (2018-2019)

                  Expert, Report for Fillenwarth Dennerline Groth & Towe, LLP, Assessment of partisan
                  gerrymandering. (2018)

                  Expert, Common Cause Indiana, et al. v. Marion County Election Board, et al., Impact
                  of closure of early voting sites on minority voters. (2017)

                  Expert, Shannon Perez, et al. v. State of Texas, et al., Assessment of partisan gerry-
                  mandering. (2017)




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